                       UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

UNITED STATES OF AMERICA                         )       DOCKET NO. 3:07-cr-79-W
                                                 )
                vs.                              )
                                                 )
(6) RUBEN ORTIZ BARRAZA                          )
      a/k/a “Ruben Barraza-Ortiz”                )       ORDER

        THIS MATTER is before the Court on the Government’s “Motion For Stay Of Order

Releasing The Defendant, Notice Of Appeal, And Motion For Revocation Of Conditions Of

Release” filed June 20, 2007. On June 19, 2007, the defendant was brought before a Magistrate

Judge in the Southern District of Texas for a detention review hearing. At the conclusion of that

hearing, the Magistrate Judge ordered the defendant released.

        Pursuant to 18 U.S.C. 3145(a)(1), this Court will stay the Magistrate Judge’s release order

pending a ruling by this Court on the Government’s motion to revoke the release order.

        IT IS, THEREFORE, ORDERED that the Government’s motion to stay is hereby

GRANTED, and the defendant shall be DETAINED until further order of this Court. The Court will

notify the parties at a later date if a hearing in this matter is necessary.

        The Clerk is directed to certify copies of this Order to the U.S. Probation Office, U.S.

Marshall Service, Defense Counsel and the United States Attorney's Office.

                                                     Signed: June 21, 2007




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